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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            2:11-CR-00323-JAM
12                  Plaintiff,
                                                          FINAL ORDER OF FORFEITURE
13           v.
14   KENNETH GEORGE EATON, et al.,
15                  Defendants.
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17          WHEREAS, on about March 15, 2013 and September 16, 2013, the Court entered a Preliminary

18 Orders of Forfeiture, forfeiting to the United States all right, title, and interest of defendants Kenneth

19 George Eaton and William Joseph Bohac in the following property:

20                  a.      Approximately $46,000.00 in U.S. Currency.
21          AND WHEREAS, beginning on March 17, 2013 and September 18, 2013, for at least 30

22 consecutive days, the United States published notice of the Court’s Order of Forfeiture on the official

23 internet government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of

24 their right to petition the Court within sixty (60) days from the first day of publication of the notice for a

25 hearing to adjudicate the validity of their alleged legal interest in the forfeited property;

26          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

27 property, and the time for any person or entity to file a claim has expired.

28          Accordingly, it is hereby ORDERED and ADJUDGED:
                                                   1
                                                                                         Final Order of Forfeiture
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 1          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 2 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853(a), to be disposed of

 3 according to law, including all right, title, and interests of Kenneth George Eaton and William Joseph

 4 Bohac.

 5          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

 6 United States of America.

 7          3.      The U.S. Marshal Service shall maintain custody of and control over the subject property

 8 until it is disposed of according to law.

 9          SO ORDERED this 22nd day of May, 2015

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                                                            /s/ John A. Mendez____________
11                                                          JOHN A. MENDEZ
                                                            United States District Court Judge
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                                                           2
                                                                                          Final Order of Forfeiture
